Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 1 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 2 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 3 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 4 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 5 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 6 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 7 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 8 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                           Document     Page 9 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                          Document      Page 10 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                          Document      Page 11 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                          Document      Page 12 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                          Document      Page 13 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                          Document      Page 14 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                          Document      Page 15 of 16
Case 16-01516   Doc 270   Filed 09/24/19 Entered 09/24/19 12:04:35   Desc Main
                          Document      Page 16 of 16
